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 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                      for the

                                                      ____ Central District
                                                                   District of
                                                                            of California
                                                                               __________

                                                                         )
DP ETIWANDA, LLC, a California                                           )
limited liability company,                                               )
                                                                         )
                             Plaintiff(s)                                )
                                                                         )
                                 v.                                             Civil Action No. 5:21-cv-1238-JGB-SP
                                                                         )
SIMSMETAL USA CORP., a New York corporation,                             )
SA RECYCLING, a Delaware, limited liability company;
AMERON INTERNATIONAL, MC., a Delaware corporation,
                                                                         )
TAMCO, a California corporation, and Does 1-20 inclusive,                )
                                                                         )
                            Defendant(s)                                 )

                                                      SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address)
          Ferromet, Inc.                                                        Pacific Coast Recycling, LLC
          1505 Corporation                                                      1505 Corporation
          538 Corporation Service Company, dba CSC in California                538 Corporation Service Company, dba CSC in California
          LAWYERS INCORPORATING SERVICE,                                        LAWYERS INCORPORATING SERVICE
          2710 Gateway Oaks Dr Ste. 150N                                        2710 Gateway Oaks Dr Ste. 150N
          Sacramento, CA 95833                                                  Sacramento, CA 95833

           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are: Thomas F. Vandenburg, Esq.
                                            Alice Charkhchyan, Esq.
                                            WOOD, SMITH, HENNING & BERMAN LLP
                                            505 North Brand Boulevard, Suite 1100, Glendale, California 91203
                                            Phone: 818 551-6000 ♦ Fax: 818 551-6050
                                            Email: tvandenburg@wshblaw.com
                                                   acharkhchyan@wshblaw.com

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.

                                                                                   CLERK OF COURT


 Date:
                                                                                              Signature of Clerk or Deputy Clerk
